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                                                                                       Claims Related to Insurance Policies


Name of Counterparty                                                                                              Nature

ACE (CHUBB)                                                                                                       Claims Related to Insurance Policies
ATTN: BRENT TAN
3630 PEACHTREE ROAD NE, SUITE 1500
ATLANTA, GA 30326


AIG                                                                                                               Claims Related to Insurance Policies
ATTN: MARC MIESKE
2929 ALLEN PARKWAY, SUITE 1300
HOUSTON, TX 77019


ARGO RE (BERMUDA)                                                                                                 Claims Related to Insurance Policies
ATTN: SAADIA SAVORY
ARGO HOUSE 110 PITTS BAY ROAD
PEMBROKE, HM08
BERMUDA

ASSOCIATED ELECTRIC AND GAS INSURANCE SERVICES - D&O                                                              Claims Related to Insurance Policies
ATTN: STEVE WAGNER
1 MEADOWLANDS PLAZA
EAST RUTHERFORD, NJ 07073


ASSOCIATED ELECTRIC AND GAS INSURANCE SERVICES - EXCESS LIAB                                                      Claims Related to Insurance Policies
ATTN: RONALD S. BERTRAND
1 MEADOWLANDS PLAZA
EAST RUTHERFORD, NJ 07073


ASSOCIATED ELECTRIC AND GAS INSURANCE SERVICES (AEGIS) - PROFESS LIAB                                             Claims Related to Insurance Policies
ATTN: MARY MOLINO
1 MEADOWLANDS PLAZA
EAST RUTHERFORD, NJ 07073


AXIS                                                                                                              Claims Related to Insurance Policies
ATTN: ANGELA OSBORNE
ONE RIVERWAY, SUITE 1700
HOUSTON, TX 77056


BEAZLEY PRO                                                                                                       Claims Related to Insurance Policies
ATTN: REGINA PASQUINE
757 THIRD AVE., 10TH FLOOR
NEW YORK, NY 10017


CHUBB ATLANTIC INDEMNITY LTD. (BERMUDA)                                                                           Claims Related to Insurance Policies
ATTN: CHRISTOPHER PARKER
CHUBB BUILDING, 17 WOODBOURNE AVE
P O BOX HM 1015
HAMILTON, HM 08
BERMUDA




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Name of Counterparty                                                                                           Nature

CHUBB/FEDERAL - CRIME                                                                                          Claims Related to Insurance Policies
ATTN: PAUL LAWERENCE
525 W MONROE, SUITE 700
CHICAGO, IL 60661
BERMUDA

CHUBB/FEDERAL - EMPLOYED LAWYER                                                                                Claims Related to Insurance Policies
ATTN: CAROLINE SULIVAN
8000 MARYLAND AVE ,STE 1500
CLAYTON, MO 63105
BERMUDA

ENDURANCE                                                                                                      Claims Related to Insurance Policies
ATTN: RAYMOND O'BYRNE
750 3RD AVENUE
NEW YORK, NY 10017


ENERGY INSURANCE MUTUAL (EIM) - D&O                                                                            Claims Related to Insurance Policies
ATTN: VITALY PISETSKY
3000 BAYPORT DRIVE, SUITE 550
TAMPA, FL 33607


ENERGY INSURANCE MUTUAL (EIM) - EXCESS LIAB                                                                    Claims Related to Insurance Policies
ATTN: SANDRA IMBRIANI
3000 BAYPORT DRIVE, SUITE 550
TAMPA, FL 33607


EUROPEAN MUTUAL ASSOCIATION FOR NUCLEAR INSURANCE (EMANI)                                                      Claims Related to Insurance Policies
ATTN: PHILIPPE VANDEKERCKHOVE
AVENUE JULES BORDET 166
BRUSSELS, B-1140
BELGIUM

FEDERAL                                                                                                        Claims Related to Insurance Policies
ATTN: BRONSON SMITH
233 S. WACKER DRIVE, SUITE 4700
CHICAGO, IL 60606


FM GLOBAL                                                                                                      Claims Related to Insurance Policies
ATTN: JIM LINDLEY
5700 GRANITE PKWY
PLANO, TX 75024


HCC- TOKIO MARINE                                                                                              Claims Related to Insurance Policies
ATTN: TOM PETTIT
8 FOREST PARK DRIVE
FARMINGTON, CT 06032




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Name of Counterparty                                                                                                  Nature

HISCOX USA                                                                                                            Claims Related to Insurance Policies
ATTN: KEVIN HENRY
520 MADISON AVE
NEW YORK , NY 10022


LIBERTY MUTUAL                                                                                                        Claims Related to Insurance Policies
ATTN: TODD TSCHANTZ
8350 N. CENTRAL EXPWY, SUITE 850
DALLAS, TX 75206


MONITOR                                                                                                               Claims Related to Insurance Policies
ATTN: CHRIS ZANCHELLI
2850 WEST GOLF ROAD, SUITE 800
ROLLING MEADOWS, IL 60008


NAVIGATORS U.K.                                                                                                       Claims Related to Insurance Policies
ATTN: ALLISON HOLLERN
THE ST BOTOLPH BUILDING
138 HOUNDSDITCH
LONDON, EC3A 7AG
UNITED KINGDOM

NUCLEAR ENERGY LIABILITY INSURANCE ASSOCIATION (NELIA) DBA AMERICAN NUCLEAR INSURERS                                  Claims Related to Insurance Policies
ATTN: MELODY PALMER
95 GLASTONBURY BLVD. SUITE 300
GLASTONBURY, CT 06033


NUCLEAR INSURANCE INSURANCE LIMITED (NEIL)                                                                            Claims Related to Insurance Policies
ATTN: BRUCE SASSI
1201 MARKET STREET, SUITE 1100
WILMINGTON, DE 19801


OIL CASUALTY INSURANCE, LTD. (OCIL)                                                                                   Claims Related to Insurance Policies
ATTN: MARGARET JONES
P.O. BOX HM 1751
HAMILTON, HM GX
BERMUDA

RLI                                                                                                                   Claims Related to Insurance Policies
ATTN: KERRICK PORTER
909 LAKE CAROLYN PARKWAY, SUITE 800
DALLAS, TX 75039


RSUI (CRC)                                                                                                            Claims Related to Insurance Policies
ATTN: MIKE ROBISON
945 EAST PACES FERRY ROAD, SUITE 1800
ATLANTA, GA 30326-1125




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Name of Counterparty                                                                      Nature

SAFECO                                                                                    Claims Related to Insurance Policies
ATTN: TODD TSCHANTZ
8350 N. CENTRAL EXPWY, SUITE 850
DALLAS, TX 75206


STARR AVIATION                                                                            Claims Related to Insurance Policies
ATTN: JIM ANDERSON
3353 PEACHTREE ROAD, N.E. SUITE 1000
ATLANTA, GA 30326


STARR GROUP OF COMPANIES                                                                  Claims Related to Insurance Policies
ATTN: BILL LAZARIDIS
399 PARK AVENUE, 8TH FLOOR
NEW YORK, NY 10022


STARR INDEMNITY & LIABIILTY - AUTO                                                        Claims Related to Insurance Policies
ATTN: CHRISTOPHER PARKER
399 PARK AVENUE, 8TH FLOOR
NEW YORK, NY 10022


STARR INDEMNITY & LIABIILTY - WC                                                          Claims Related to Insurance Policies
ATTN: CHRISTOPHER PARKER
399 PARK AVENUE, 8TH FLOOR
NEW YORK, NY 10022


STARR SURPLUS LINES INS CO. -GL                                                           Claims Related to Insurance Policies
ATTN: CHRISTOPHER PARKER
399 PARK AVENUE, 8TH FLOOR
NEW YORK, NY 10022


TORUS                                                                                     Claims Related to Insurance Policies
ATTN: OLIVER ADE
190 SOUTH LASALLE STREET, SUITE 2025
CHICAGO, IL 60603


XL INSURANCE (BERMUDA) LTD.                                                               Claims Related to Insurance Policies
ATTN: SALVATORE CANTARELLA
O'HARA HOUSE ONE BERMUDIANA ROAD
P.O. BOX HM 2245
HAMILTON, HM JX
BERMUDA

XL INSURANCE CATLIN                                                                       Claims Related to Insurance Policies
ATTN: ROBERT DUNN
100 CONSTITUTION PLAZA, 17TH FLOOR
HARTFORD , CT 06103




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